     Case 4:22-cr-00285 Document 1 Filed on 06/27/22 in TXSD Page 1 of 5

                                                                       United States Courts
                                                                     Southern District of Texas
                                                                              FILED
                IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS                             June 27, 2022
                         HOUSTON DIVISION                          Nathan Ochsner, Clerk of Court


UNITED STATES OF AMERICA                 §
                                         §
v.                                       §            CRIMINAL NO.   4:22-cr-285
                                         §
ABRAHAM JOSEPH                           §


                          CRIMINAL INFORMATION

The United States Attorney charges:

                                 COUNT ONE
                           (Conspiracy 18 U.S.C. § 371)

A.     INTRODUCTION

At all times material to this Criminal Information:

1.    Defendant ABRAHAM JOSEPH (“JOSEPH”) and a co-conspirator whose

initials are “PD” resided in Houston, Texas.

2.    JOSEPH was the owner of a company called OnePoint, Inc. (“OnePoint”).

PD was the facilities manager for the Victim Company’s manufacturing facilities

in Houston, Texas.

3.     From 2007 until 2019, JOSEPH conspired with PD in a bribery and bid

rigging scheme to obtain construction and maintenance work at the Victim

Company. JOSEPH submitted fake bids to the Victim Company through PD, who

coordinated the submission of the fake bids to make it appear that OnePoint was

                                          1
     Case 4:22-cr-00285 Document 1 Filed on 06/27/22 in TXSD Page 2 of 5




the low bidder. In exchange for OnePoint getting the Victim Company work,

JOSEPH paid PD with millions of dollars and other things of value. PD also

funneled other work to JOSEPH/OnePoint where JOSEPH paid PD a portion of

the Victim Company’s payments to OnePoint (“kickbacks”). When submitting

invoices for payment to the Victim Company, JOSEPH failed to disclose to the

Victim Company that he was submitting falsified bids, paying PD kickbacks from

the Victim Company’s funds, and had PD on OnePoint’s payroll for a time. The

Victim Company would not have paid the OnePoint invoices had it known about

the falsified bids or the kickback payments to PD.

B.    THE CONSPIRACY

5.    From at least in or around 2007 through in or around 2019, in the Houston

Division of the Southern District of Texas and elsewhere,

                              ABRAHAM JOSEPH

the defendant, and others known and unknown, did knowingly combine, conspire,

confederate, and agree with others known and unknown, to commit mail fraud, in

violation of Title 18, United States Code, Section 1341.

6.    It was a part and object of the conspiracy that defendant, and others known

and unknown, did knowingly and willfully devise, and intend to devise, a scheme

to defraud and for obtaining money and property by means of material false and

fraudulent pretenses, representations, and promises, and for the purpose of

                                         2
      Case 4:22-cr-00285 Document 1 Filed on 06/27/22 in TXSD Page 3 of 5




executing such scheme, did cause mail to be delivered by private and commercial

interstate carriers, in violation of Title 18, United States Code, Section 1341.

C.    MANNER AND MEANS OF THE CONSPIRACY

7.    The defendant sought to accomplish the purpose of the conspiracy by,

among other things, the following manner and means, among other things:

a.    JOSEPH submitted falsified bids to the Victim Company to make it appear

that his company, OnePoint, was the low bidder on Victim Company construction

and maintenance projects;

b.    JOSEPH submitted falsified bids to the Victim Company that were inflated

at least by an amount necessary to pay kickbacks to PD;

c.    JOSEPH paid the Victim Company employee PD millions of dollars from

the proceeds of Victim Company payments in exchange for PD coordinating fake

bids and funneling work to JOSEPH’S company, OnePoint;

d.    When JOSEPH submitted invoices to the Victim Company for payment, he

failed to inform the Victim Company that he was submitting falsified bids and that

he was paying the Victim Company employee PD a portion of the Victim

Company payments in exchange for PD funneling work to JOSEPH’S company,

OnePoint, causing the Victim Company to mail millions of dollars in check

payments to OnePoint.



                                          3
      Case 4:22-cr-00285 Document 1 Filed on 06/27/22 in TXSD Page 4 of 5




D.    ACTS IN FURTHERANCE OF THE CONSPIRACY

      To achieve the purpose of the conspiracy, the defendant and other co-

conspirators in the Southern District of Texas and elsewhere, committed and

caused to be committed the following acts in furtherance of the conspiracy,

including knowingly causing mail to be delivered by a private and commercial

interstate carrier as set forth below:

     ACT/PARAGRAPH                         DATE                DESCRIPTION

             8                           8/27/2007      Mail matter containing a
                                                        check delivered to the
                                                        Southern District of Texas
             9                            7/6/2008      Mail matter containing a
                                                        check delivered to the
                                                        Southern District of Texas
             10                           3/9/2009      Mail matter containing a
                                                        check delivered to the
                                                        Southern District of Texas
             11                           5/6/2010      Mail matter containing a
                                                        check delivered to the
                                                        Southern District of Texas
             12                          3/11/2011      Mail matter containing a
                                                        check delivered to the
                                                        Southern District of Texas
             13                          11/29/2012     Mail matter containing a
                                                        check delivered to the
                                                        Southern District of Texas
             14                           7/8/2013      Mail matter containing a
                                                        check delivered to the
                                                        Southern District of Texas
             15                          3/24/2014      Mail matter containing a
                                                        check delivered to the
                                                        Southern District of Texas

             16                          8/6//2015      Mail matter containing a
                                                        check delivered to the
                                                        Southern District of Texas


                                             4
Case 4:22-cr-00285 Document 1 Filed on 06/27/22 in TXSD Page 5 of 5




     17                         2/18/2016          Mail matter containing a
                                                   check delivered to the
                                                   Southern District of Texas

     18                         12/20/2017         Mail matter containing a
                                                   check delivered to the
                                                   Southern District of Texas

     19                         1/18/2018          Mail matter containing a
                                                   check delivered to the
                                                   Southern District of Texas

     20                         6/19/2019          Mail matter containing a
                                                   check delivered to the
                                                   Southern District of Texas


In violation of Title 18, United States Code, Section 371.

                                 JENNIFER B. LOWERY
                                 United States Attorney

                          By:    Belinda Beek
                                 Belinda Beek
                                 Assistant United States Attorney




                                    5
